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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,

                Plaintiffs,

      v.                                                  Civil Action No. 1:22-cv-0481 (CJN)

UNITEDHEALTH GROUP INCORPORATED
and
CHANGE HEALTHCARE, INC.,

                Defendants.


                                                ORDER

          This matter is before the Court after a bench trial. Upon review of the entire record and

for the reasons set forth in the accompanying memorandum opinion, it is

          ORDERED that the Government’s request to enjoin the proposed merger of Defendant

UnitedHealth Group Incorporated with Defendant Change Healthcare, Inc. is DENIED. It is

further

          ORDERED that Defendants DIVEST ClaimsXten to TPG Capital as proposed. And it is

further

          ORDERED that judgment be entered for Defendants.

          This is a final appealable order.

          The Clerk is directed to terminate this case.



DATE: September 19, 2022
                                                                CARL J. NICHOLS
                                                                United States District Judge
